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                                                                                                  E-FILED
                                                                   Thursday, 03 July, 2014 01:26:09 PM
                                                                         Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

CCPS TRANSPORTATION, L.L.C.                                  )
                                                             )
                              Plaintiff,                     )
                                                             )         No. 14-CV-_________
       v.                                                    )
                                                             )
BONITA R. CHARTER and ALAN CHARTER;                          )
JOHN M. STROBEL and PATRICIA A. STROBEL;                     )
EDWARD I. STROBEL and PHYLLIS B.                             )
STROBEL; THE EDWARD I. STROBEL TRUST AND                     )
EDWARD I. STROBEL AS TRUSTEE; THE                            )
PHYLLIS B. STROBEL TRUST and PHYLLIS B.                      )
STROBEL AS TRUSTEE; DIANE K. LARKIN;                         )
DONALD S. LARKIN and JOBETH LARKIN;                          )
and DANIEL B. LARKIN.                                        )
                                                             )
                              Defendants.                    )


                    COMPLAINT FOR DECLARATORY JUDGMENT

       CCPS Transportation, L.L.C. ("CCPS") complains against Defendants Bonita R. Charter,

Alan Charter, John M. Strobel, Patricia A. Strobel, Edward I. Strobel, Edward I. Strobel Trust,

Phyllis B. Strobel, Phyllis B. Strobel Trust, Diane K. Larkin, Donald S. Larkin, JoBeth Larkin,

and Daniel B. Larkin ("Defendants") as follows:

                                JURISDICTION AND VENUE

       1.      Plaintiff CCPS is a Delaware limited liability company with its principal place of

business in Houston, Texas. The sole member of CCPS is Enbridge Energy Company, Inc., a

Delaware corporation with its principal place of business in Houston, Texas.

       2.      Defendant Bonita R. Charter is a citizen of Illinois.

       3.      Defendant Alan Charter is a citizen of Illinois.

       4.      Defendant John M. Strobel is a citizen of Ohio.
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       5.      Defendant Patricia A. Strobel is a citizen of Ohio.

       6.      Defendant Edward I. Strobel is a citizen of Illinois.

       7.      Defendant Edward I. Strobel Trust is a citizen of Illinois because its sole

               trustee Edward I. Strobel is a citizen of Illinois.

       8.      Defendant Phyllis B. Strobel is a citizen of Illinois.

       9.      Defendant Phyllis B. Strobel Trust is a citizen of Illinois because its sole

               trustee Phyllis B. Strobel is a citizen of Illinois

       10.     Defendant Diane K. Larkin is a citizen of Illinois.

       11.     Defendant Donald S. Larkin is a citizen of Illinois.

       12.     Defendant JoBeth Larkin is a citizen of Illinois.

       13.     Defendant Daniel B. Larkin is a citizen of Illinois.

       14.     The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

       15.     This Court has original jurisdiction pursuant to 28 U.S.C. §1332(a)(1).

       16.     The lands at issue in this complaint are located in Livingston County, Illinois. For

pipeline purposes, CCPS has designated Defendants’ properties by discrete "tract" numbers as

tracts SH-232 (Charter), SH-256 (Strobel), and SH-258-B, C, and D (Larkins). Additionally, the

Right of Way grants attached to this complaint as Exhibit A and hereby incorporated by

reference (the "1952 Right of Way grants") are all recorded in Livingston County, Illinois.

Venue is thus proper in this judicial district and division pursuant to 28 U.S.C. §1391(b)(2).

                                               FACTS

       17.     CCPS is participating in the construction of a new liquid petroleum pipeline

running northeasterly from a petroleum terminal near Pontiac, Illinois to Lake County, Indiana,

there to interconnect with petroleum terminals located in Griffith and Schererville, Indiana. The


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new pipeline, called "Line 78," will run approximately seventy-seven miles in Illinois and will

largely parallel an existing CCPS pipeline – Line 62 –that will traverses portions of Livingston,

Grundy, Kankakee, Will, and Cook counties in Illinois and also part of Lake County, Indiana.

       18.     The route of Line 78 crosses various parcels of land in Livingston County, Illinois

that are currently owned by Defendants. These parcels are part of the Line 62 right-of-way in

which CCPS possesses multiple-line rights. The respective rights of the parties concerning each

parcel of land are set forth on the face of each of the attached 1952 Right of Way grants.

Defendants are the current successors to the grantor under each grant; CCPS is the current

successor to the grantee under each grant.

       19.     Among the rights conveyed to the grantee and its successors and assigns by the

1952 Right of Way grants is the right to construct and operate one or more additional pipelines

on Defendants' properties for the transportation of liquids and/or gases.

       20.     To facilitate construction and operation of Line 78, CCPS intends to utilize its

rights under the 1952 Right Of Way grants to facilitate the construction and operation of an

additional underground pipeline on Defendants' parcels.

       21.     The plain language on the face of each 1952 Right Of Way grant authorizes the

grantee and its successors and assigns, among other things, to construct an additional pipeline of

any size on Defendants' properties for the transportation of liquids and/or gases; to change the

size of its pipes; to operate, maintain, and protect such pipelines; and to have unimpaired access

to them as well as ingress and egress rights over Defendants' properties for all purposes

necessary to the exercise of the rights granted by the 1952 Right Of Way grants. To exercise

said rights, the grantee need only tender the payment specified in the applicable 1952 Right of

Way grant. The requisite tenders have been made.




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       22.     Defendants deny grantee’s rights under the grants.            Defendants contend,

notwithstanding the clear and express terms of the 1952 Right Of Way grants, that they may

block construction and operation of Line 78 pursuant to the grants across their properties.

       23.     The dispositive language in the 1952 Right of Way grants authorizes an

"additional pipeline or pipelines along side of said first pipeline." See Exhibit A. If Defendants

succeeds in their effort to abrogate the terms of the 1952 Right Of Way grants and blockade Line

78, CCPS will be deprived of its express contractual right to construct an additional pipeline on

Defendants' properties, its contribution to the Line 78 project will be substantially impaired, and

CCPS and its affiliates will be subjected to significant delay and large additional expenses in

rerouting, designing, and constructing the Line 78 Pipeline.

       24.     An actual controversy now exists between CCPS and these Defendants

concerning the validity, enforceability, and correct interpretation of the 1952 Right Of Way

grants with respect to the construction and operation of Line 78 across Defendants’ properties.

                                            RELIEF

       25.     CCPS seeks a declaration that the 1952 Right of Way grants are valid and

enforceable according to their terms and that it possesses and may enforce all of the rights

granted to the grantee by the language of the 1952 Right of Way grants, including rights to lay,

operate, maintain, and protect on Defendants' properties an additional pipeline for the

transportation of liquids and/or gases of such size as CCPS or its assignee determines, as well as

rights to enter and utilize such portions of the land as may be necessary for the exercise of the

other rights granted.




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          WHEREFORE, CCPS prays that the Court grant judgment in its favor as described

above, award Plaintiff its costs, and afford such other relief as the Court finds just and

reasonable.



                                           CCPS TRANSPORTATION, L.L.C.

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                                          By:      /s/ Gerald A. Ambrose
                                                One of its Attorneys

Dated: July 3, 2014




*
    LEAD COUNSEL PER LOCAL RULE 11.2.



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                                           EXHIBIT A
                          Property of Bonita R. Charter and Alan Charter
                                          (Tract SH-232)

 Property of John M. Strobel and Patricia A. Strobel, Edward I. Strobel and Phyllis B. Strobel, The
Edward I. Strobel Trust and Edward I. Strobel as Trustee, The Phyllis B. Strobel Trust and Phyllis B.
                                        Strobel as Trustee
                                          (Tract SH-256)

       Property of Diane K. Larkin, Donald S. Larkin and JoBeth Larkin, and Daniel B. Larkin
                            (Tracts SH-258-B, SH-258-C and SH-258-D)
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